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   States, and for appropriating the same, took effect: And provided also, not to exceed
   That such allowance shall not exceed the annual amount of seventy $70,000.
   thousand dollars, until the same shall be further ascertained by law.
      SEc. 17. And be it further enacted, That the act, intituled " An act         Certain act in
                                                                                 forceofforcolec.
   repealing after the last day of June next, the duties heretofore laid upon tlon        the du-
   distilled spirits imported from abroad and laying others in their stead, ties, &c.herein.
   and also upon spirits distilled within the United' States, and for appro-
   priating the same," shall extend to and be in full force for the collection      1791, ch. 15.
   of the several duties herein before mentioned and for the recovery and
   distribution of the penalties and forfeitures herein contained and gene-
   rally for the execution of this act, as fully and effectually as if every re-
   gulation, restriction, penalty, provision, clause, matter, and thing therein
   contained were inserted in and re-enacted by this present act, subject
   only to the alterations hereby made.
      APPROVED, May 8, 1792.

                                                                                                STATUTE I.

   CHAP XXXIII.-.Rnlct more effectually to provide for the National Defence by                 May 8, 1792.
            establishing an Uniform Militia throughout the United States.(a)
       SECTION 1. Be it enacted by the Senate and. House of Representa-         Md;:ia how
   tires of the" United States of. America in Congress assembled That and by whom
   each and every free able-bodied white male citizen of the respective to be enrolled.
   states, resident therein, who is or shall be of the age of eighteen years,
   and under the age of forty-five years (except as is herein after excepted)
   shall severally and respectively be erolled in the militia by the captain
   or commanding officer of the company, within whose bounds such citi-
   zen shall reside, and that within twelve months after the passing of this
   act. And it shall at all times hereafter be the duty of every such cap-
   tain or commanding officer of a company to enrol every such citizen,
   as aforesaid, and also those who shall, from time to time, arrive at the
   age of eighteen years, or being of the age of eighteen years and under
   the age of forty-five years (except as before excepted) shall come to re-
   side within his bounds; and shall without delay notify such citizen of the
   said enrolment, by a proper non-commissioned officer of the company, by
   whom such notice may be proved. That every citizen so enrolled and
   notified, shall, within six months thereafter, provide himself with a good How to be
   musket or firelock, a sufficient bayonet and belt, two spare flints,'and a armed and ac.
   knapsack, a pouch with a box therein to contain not less than twenty- cotred.
   four cartridges, suited to the bore of his musket or firelock, each cart-
   ridge to contain a proper quantity of powder and ball: or with a good
   rifle, knapsack, shot-pouch and powder-horn, twenty balls suited to the
   bore of his rifle and a quarter of a pound of powder; and shall appear,
   so armed, accoutred and provided, when called out to exercise, or into
   service, except, that when called out on company days to exercise only,
   he may appear without a knapsack. That the commissioned officers                             1803, ch. 15.
   shall severally be armed with a sword or hanger and espontoon, arid that
   from and after five years from the passing of this act, all muskets for
   arming the militia as herein required, shall be of bores sufficient for
      (a) The acts for the establishment of an uniform system for the government of the nilitia, are: An
   act more effectually to provide for the national defence by establishing an uniform militia throughout the
   United States, May 8, 1792, chap. 33; an act providing arms for the militia throughout the United State',
   July 6,1798, chap. 65; an act in addition to an act entitled, "An act more eff'ectuallv to provide for the
   national defence, by establishing an uniform militia throughout the United States," March 2, 1803, chap.
   15; an act more effectually to provide for the organizing of the militia of the District of Columbia, March
   3. 1803, chap. 20; an act establishing rules and articles for the government of the armies of the United
   States, April 10, 1806, chap. 20; an act in addition to the act entitled, "An act to provide for callin
   forth the militia to execute the laws of the Union, suppress insurrections, and to repeal the act now in
   force for those purposes,'" April 1S. 1814, chap. 82; an act concerning field oficers .f the militia, April
   20, 1816, chap. 64; an act to establish an uniform mode of discipline and field exercie for the militia of'
   the United States, May 12, 1820, chap. 97; an act to reduce and fix the military peace establishmet
   of the United States, March 2, 1521, chap. 13, sec. 14.
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                            balls of the eighteenth-part of a pound. And every citizen so enrolled,
                                 and providing himself with the arms, ammunition and accoutrements re-
                                 quired as aforesaid, shall hold the same exempted from all suits, dis-
                                tresses, executions or sales, for debt or for the payment of taxes.
                Executive offi     SEc. 2. And be it further enacted, That the Vice President of the
              cers, &c. ex-
              empted.           United States ; the officers judicial and executive of the government of
                                the United States; the members of both Houses of Congress, and their
                                respective officers; all custom-house officers with their clerks; all post-
                                officers, and stage drivers, who are employed in the care and conveyance
                                of the mail of the post-office of the United States; all ferrymen employed
                                at any ferry on the post road; all inspectors of exports; all pilots'; all
                               mariners actually employed in the sea service of any citizen or mer-
                               chant within the United States; and all persons who now are or may here-
                                after be exempted by the laws of the respective states, shall be, and are
                 1810, oh.     hereby exempted from militia duty, notwithstanding         their being above
                               the age of eighteen, and under the age of forty-five years.
               Militia bow to     "SEc.3. And be it further enacted, That within one year after the
             be arranged,
             and               passing of this act, the militia of the respective states shall be arranged
                               into divisions, br.igades, regiments, battalions and companies, as the le-
                               gislature of each state shall direct;- and each division, brigade and regi-
                               ment, shall be numbered at the formation thereof; and a record made
                               of such numbers in the adjutant-general's office in the state; and when
                               in the field, or in service in the state, each division, brigade and regi-
                               ment shall respectively take rank according to their numbers, reckoning
                               the first or lowest number highest inrank. That if the same be conve-
                               nient, each brigade shall consist of four regiments; each regiment of
                               two battalions; each battalion of five companies; each company of
            by whom offi- sixty-four privates. That the said militia shall be officered by the re-
            cered.             spective states, as fbllows: To each division, one major-general and two
                               aids-de-camp, with the rank of major; to each brigade, one brigadier-
                               general, with one brigade inspector, to serve also as brigade-major, with
                               the rank of a major; to each regiment, one lieutenant-colonel comman-
                               dant; and to each battalion one major; to each company one captain,
                               one lieutenant, one ensitn, four sergeants, four corporals, one drummer
                               and one fifer or bugler. That there shall be a regimental staff, to con-
               1803, ch. 15, sist of one adjutant and one quartermaster, to rank as lieutenants; one
            see. 3.            paymaster; one surgeon, and one surgeon's mate; one sergeant-major;
                               one drum-major, and one fife-major.
                 Each batta-      SEC. 4. And be itfurther enacted, That out of the militia enrolled,
            lion to have oe as is herein directed, there shall be formed for each battalion at least
            nadiers. &c.and one-company of grenadiers, light infantry or riflemen ; and that to each
            one company of division there shall be at least one company of artillery, and one troop of
            artillery,         horse: there shall be to each company of artillery, one captain, two lieu-
                            tenants, four sergeants, four corporals, six gunners, six bombadiers, one
               Officers how drummer, and one fifer. The officers to be armed, with a sword or
            to be armed,    hanger, a fusee, bayonet and belt, with a cartridge-box to contain twelve
                             cartridges; and each private or matross shall furnish himself with' all the
                             equipments of a private in the infantry, until proper ordnance and field
                 Troops of artillery is provided. There shall be to each troop of horse, one captain,
            horse ho offi-   two lieutenants, one cornet, four sergeants, four corporals, one saddler, one
            cered, &c.       farrier, and one trumpeter. The commissioned
                                                                                  officers to furnish them-
                             selves with good horses of at least fourteen hands and an half high., and
                             to be armed with a sword and pair of pistols, the holsters of which to be
                             covered with bearskincaps. Each -dragoon to furnish himself with a
                             serviceable horse, at least fourteen hands and an half high, a good sad-
                             die, bridle, mailpillion and valise, holsters, anda breast-plate and crupper,
                             a pair of boots and spurs,.a pair of pistols, a sabre, and a cartouch-box, to
               Artillery and contain twelve cartridges for pistols. That each company of artillery
            horse of hom
            to be formed ; and troop of horse shall be formed of volunteers from the brigade, at the
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 discretion of the commander-in-chief of the state, not exceeding one to be uniformly
 company of each to a regiment, nor more in number than one eleventh cladat               their
                                                                                 own expense.
 paxt of the infantry, and shall be uniformly clothed in regimentals, to be
 furnished at their own expense; the colour and fashion to be determined           1803, ch. 15.
 by the brigadier commanding the brigade to which they belong.
     SEC. 5. Aud be it further enacted, That each battalion and regi-              What colors
                                                                                     and by
 mert shall be provided with the state and regimental colours by the &c.         whom to be fur.
 field officers, ,and each :company with a drum and fife, or bugle-horn, by nished.
 the commissioned officers of the company, in such manner as the legis-
 lature of -the respective states shall direct.
     SEC. 6. And be it further enacted, That there shall be an adjutant- Adjutant-gen.
  general appointed in each state, whose duty it shall be to distribute all or- erl hin  each
  ders from the commander-in-chief of the state to the several corps; to attend state,     duty.
  all public reviews when the commander-in-chief of the state shall review
  the militia, or any part thereof; to obey all orders from him relative to car-
  rying into execution and perfecting the system of military discipline esta-
  blished by this act; to furnish blank forms of different returns that may be
  required, and to explain the principles on which they should be made; to re-
 ceive from the several officers of the different corps throughout the state,
  returns of the militia under their command, reporting the actual situation
  of their arms, accoutrements, and ammunition, their delinquencies, and
  every other thing which relates to the general advancement of good
  order and discipline: all which the several officers of the divisions, bri-
  gades, regiments, and battalions, are hereby required to make in the             1803, ch. 15.
  usual manner, so that the said adjutant-general may be duly furnished
  therewith: from all which returns he shall make proper abstracts, and lay
  the same annually before the commander-in-chief of the state.
      Sec. 7. And be it further enacted, That the rules of discipline, ap-         Rules of dis.
  proved and established by Congress in their resolution of the twenty- cipline.
  ninth of March, one thousand seven htihdred and seventy-nine, shall be
  the rules of discipline to be observed by the militia throughout the Uni-
  ted States, except such deviations from the said rules as may be rendered
  necessary by the requisitions of this act, or by some other unavoidable
  circumstances. It shall be the duty of the commanding officer at every
  muster, whether by battalion,, regiment, or single company, to cause the
  militia to be exercised and trained agreeably to the said. rules of disci-
  pline.
      Sac. 8. And be it further enacted, That all commissioned officers           Officers how
  shall take rank according to the date of their commissions; and when to take rank.
  two of the same grade bear an equal date, then their rank to be deter-
  mined by lot, to he drawn by them before the commanding officer of the
  brigade, regiment, battalion, company, or detachment.
     SEC. 9. And be it further enacted, That if any person, whether offi-         Provision in
 cer or soldier, belonging to the militia of any state, and called out into case of'wounds,
 the service of the United States, be wounded or disabled while in ac-
 tual service, he shall be taken care of and provided for at the public
  expense.
     Sac. 10. And be it further enacted, That it shall be the duty of the          Brigade in.
  brigade-inspector to attend the regimental and battalion meetings of the spector's duty.
  militia composing their several brigades, during the time of their being
 under arms, to inspect their arms, ammunition, and acoutrements; su-
 perintend their exercise and manmuvres, and introduce the system of
  military discipline before described throughout the brigade, agreeable to
 law, and such orders as they shall from time to time receive from the
  commander-in-chief of the state; to make returns to the adjutant-gene-
  ral of the state, at least once in every year, of the militia of the brigade
  to which he belongs, reporting therein the actual situation of the arms,
  accoutrements, and ammunition of the several corps, and every other 1803, ch. 15.
  thing which, in his judgment, mly relate to their government and the
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                            general advancement of good order and military discipline; and the
                             adjutant-general shall make a return of all the militia of the state to the
                            commander-in-chief of the said state, and a duplicate of the same to the
                            President of the United States.
              Artillery &c.    And whereas sundry corps of artillery, cavalry, and infantry now exist
           now existing,    in several of the said states, which by the laws, customs, or usages thereof
                            have not been incorporated with, or subject to the general regulations of
                            the militia:
           to retain their     SEC. 11. Be it further enacted, That such corps retain their accus-
           privileges.      tomed privileges, subject, nevertheless, to all other duties required by this
                            act, in like manner with the other militia.
                               APPROVED, May 8, 1792.

             STATUTE   I.


            May 8, 1792.       CHAP. XXXIV.-Sn det relative to the compensations to certain officers employed
                                         in the collection of the duties f impost and tonnage.
             [Obsolete.]          SECTION 1. Be it enacted by the Senate and House of Representa-
              Additional       tives of the United States of America in Congress assembled, That from
           specific allow,     and after the last day of June next, in addition to the fees and emolu-
           ance from lst of
           July next to cer-   ments which may accrue to the officers employed in the collection of the
           tain surveyors      duties of impost and tonnage, by the provisions already made, they shall
           and collectors.     severally have and be entitled to the respective allowances following, to
             1790, ch. 35.
           see. 63.         wit: The surveyors of Newburyport, Salem, St. Mary's and Wilmington, in
             Act of March   North Carolina, the yearly sum of one hundred dollars each; the survey-
           2, 1799, ch. 23. ors of Beverly, North Kingston, East Greenwich, Warren, Bristol, Paw-
                            catuck river, Providence, Patuxet, New Haven, Lewellensburg, Alexan-
                            dria, Beaufort, Hertford, Winton, Bennet's creek, Plymouth, Windsor,
                            Skewarkey, Murfreesborough, Nixonton, Indiantown, Currituck inlet,
                            Pasquotank river bridge, and Newbiggen creek, the yearly sum of eighty
                            dollars each; the surveyor of Portsmouth, the yearly sum of sixty dol-
                            lars; the surveyors of Ipswich, Portland, Newport, Stonington, Middle-
                            ton, Bermuda hundred, Petersburg, Richmond, and Savannah, the yearly
                            sum of fifty dollars each; the surveyors of Gloucester, New London, and
                            Swansborough, the yearly sum of thirty dollars each; the surveyors of
                            Hudson, Little Egg Harbour, Suffolk, Smithfield, Urbanna, and Frede-
                            ricksburg, the yearly sum of twenty dollars each; the collector of the dis-
                            trict of Wilmington, in North Carolina, the yearly sum of one hundred
                            and fifty dollars; the collectors of the districts of Portsmouth, Gloucester,
                            Albany, Annapolis, Vienna, Nottingham, Yorktown, Dumfries, and Lou-
                            isville, the yearly sum of one hundred dollars each; the collector of the
                            district of Fairfic!d, the yearly sum of eighty dollars; the collectors of the
                            districts of Marblehead, Plymouth, Barnstable, Nantucket, New Bedford,
                            Dighton, York, Biddeford, and Pepperelborough, Bath, Wiscasset, Ma-
                            chias, Newport, New Haven, Perth Amboy, Great Egg Harbour, Wil-
                            mington, in Delaware, Chester, Cedar Point, Georgetown, Hampton.
                            South Quay, Washington, Plank Bridge, and Georgetown, in South Ca-
                            rolina, the yearly sum of fifty dollars each; the naval officer of the dis-
                            trict of Portsmouth, the yearly sum of one hundred dollars; the naval
                            officers of the district, ot Newburyport, Newport, Providence, Wilming-
                            ton, in North Carolina, and Savannah, the yearly sum of fifty dollars
                            each; the collector of the district of Salem and Beverly, one fourth of
                            one per centum on the amount of all monies by him received on account
                            of the said duties; and to the collectors of the districts of;Portsmouth,
                            Newburyport, Gloucester, Mhrblehead, Plymnuth, Nantucket, Edgartown,
                            New Bedford, Dighton, York, Biddeford, and Pepperelborough, Port-
                            land, Bath, Wiscasset, Penobscot, Frenchman's bay, Machias, Newport,
                            Providence, New Haven, Fairfield, Perth Amboy, Burlington, Great Egg
                            Harbour, Wilmington, in Delaware, Oxford, Vienna, Snowhill, Annapo-
